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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                  )
ELIJAH RODRIGUEZ,                                 )
                                                  )
               Plaintiff,                         )
                                                  )
               v.                                 )          CIVIL ACTION
                                                  )          NO. 21-10126-JGD
CAROL A. MICCI,                                   )
                                                  )
               Defendant.                         )
                                                  )
                                                  )

                                              ORDER

                                            May 5, 2021

DEIN, U.S.M.J.

       The Court is in receipt of a letter from Elijah Rodriguez, who is incarcerated at Souza-

Baranowski Correctional Center (“SBCC”). In this letter, Rodriguez represents that correction

officers at MCI Shirley and SBCC have used excessive force against him. Rodriguez also states

that correction officers at SBCC have threatened him that, if he is transferred to MCI Cedar

Junction, correction officers at that institution will assault him. Rodriguez further represents that

he has been informed that he will be completing his sentence at MCI Cedar Junction. 1

       Rodriguez asks the Court to help him find counsel to represent him. According to

Rodriguez, he has sought assistance, without avail, from ten different law offices and Prisoners’

Legal Services. He states that he does not understand how to “fill out the packet.”




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 The Court notes that, according to the publicly available information on vinelink.com (last
visited May 4, 2021), Rodriguez remains incarcerated at SBCC.
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         Although the Court understands that Rodriguez is asking for assistance in finding

counsel, the Court does not recommend specific attorneys for litigants. The Court has a small

pro bono program, but Court cannot consider appointing pro bono counsel for a litigant who

does not have a lawsuit already pending in this Court. Even then, the Court is not able to appoint

pro bono counsel for all litigants who seek legal representation because pro bono attorneys serve

on a voluntary basis.

         If Rodriguez wishes to bring an action in this Court, he must file a complaint. Rodriguez

is not obligated to use a form complaint. The complaint must bear the title “Complaint” and

identify the plaintiff’s names and all the defendants in the heading of the first page. In the rest of

the complaint, Rodriguez must identify the alleged misconduct of each defendant so that each

defendant has notice of the claim against him or her. The allegations must be plain, simple,

concise, and direct. They must be set forth in short, numbered paragraphs. At the end of the

complaint, Rodriguez must state what relief he is seeking and indicate whether he seeks a jury

trial.

         To commence a civil action, a plaintiff must pay a $350 filing fee and a $52

administrative fee. Generally, these fees must be paid at the commencement of the action.

However, the Court may waive the $52 administrative fee for an indigent prisoner and allow the

prisoner to proceed with his lawsuit without prepaying the remaining $350 filing fee. Where a

prisoner seeks to proceed without prepayment of the filing fee, he must submit to the Court: (1) a

completed Application to Proceed in District Court without Prepaying Fees and Costs (also

referred to as a motion for leave to proceed in forma pauperis); and (2) a statement of his prison

account(s) for the six-month period preceding the filing of the lawsuit. If the Court allows the

prisoner to proceed without prepayment of the $350 filing fee, the prisoner must nonetheless pay



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the fee over time regardless of the outcome of the litigation. The Court notifies the appropriate

prison official of the plaintiff’s financial obligation and the official sends appropriate partial

payments to the Court without further authorization from the plaintiff. See 28 U.S.C. § 1915(b).

        Although Rodriguez’s letter was docketed as a complaint, it does not appear that

Rodriguez’s intent in sending the letter was to commence an action. Accordingly, the Court will

close this matter. The dismissal of this matter is “without prejudice” and does not affect

Rodriguez’s ability to file a complaint in this Court.

        The Clerk shall provide Rodriguez with an Application to Proceed in District Court

without Prepaying Fees and Costs. This form is provided as a courtesy, should Rodriguez elect

to file an action in this Court.

        SO ORDERED.

                                                          /s/ Judith Gail Dein
                                                         Judith Gail Dein
                                                         United States Magistrate Judge




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